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 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                      WESTERN DIVISION
12
13    ACQUISITION MANAGEMENT, INC.,                 CASE NO.: 2:19-cv-06814-DSF-KS
14                       Plaintiffs,
15    vs.                                           DEFENDANT RETREAVER, INC.’S
                                                    OPPOSITION TO PLAINTIFF’S
16    RETREAVER, INC., and DOES 1-5,                APPLICATION FOR LEAVE TO
      inclusive,                                    FILE UNDER SEAL
17
                         Defendants.
18                                                  [Submitted without waiver of Defendant
                                                    Retreaver, Inc.’s objections to personal
19                                                  jurisdiction before the Court]
20
21                                                  Hon. Dale S. Fischer
22                                                  Action Filed: August 6, 2019
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 1           Defendant Retreaver, Inc. (“Retreaver”) submits this opposition to Plaintiff
 2   Acquisition Management, Inc.’s (“Acquisition”) Application for Leave to File Under Seal
 3   Certain Portions of and Exhibits to Plaintiff’s First Amended Complaint (Oct. 24, 2019),
 4   ECF No. 19 (“Application to Seal”). Retreaver submits this opposition without waiver of
 5   its objections to the Court’s alleged personal jurisdiction over it.
 6           Acquisition’s Application to Seal does not comply with the local rules and misstates
 7   the material that it seeks to seal. First, counsel for Acquisition did not meet and confer
 8   with counsel for Retreaver before filing the Application to Seal. At 9:44 p.m. on
 9   Wednesday, October 23, 2019 (the day before Acquisition’s deadline to file a first
10   amended complaint), counsel for Acquisition informed counsel for Retreaver that
11   Acquisition was planning to file “certain portions” of its first amended complaint “Under
12   Seal in order to protect confidential information.” Declaration of Rebekah S. Guyon, Ex.
13   1. Counsel for Acquisition did not request a conference to “discuss thoroughly, preferably
14   in person, the substance of the contemplated” motion to seal, “any potential resolution” of
15   the motion, or even identify the material that it believed was confidential and should be
16   excluded from the public record, as C.D. Cal. R. 7-3 requires. Id. ¶ 2, Ex. 1. No
17   conference of counsel occurred. Id.
18           Second, Acquisition’s Application to Seal falsely states that the only materials it
19   seeks to seal are alleged “Defamatory statements made by Defendant about Acquisition.”
20   Application to Seal at 2; Declaration of Marc Hankin ¶ 4 at 2 (Oct. 24, 2019), ECF No.
21   20. In fact, Acquisition has improperly redacted not only from the public record—but
22   from the copy of Exhibit G provided to the Court and counsel for Retreaver—(1) the
23   identity of the alleged third-party discussing Retreaver’s and Acquisition’s products in the
24   transcript; (2) the date and time of the alleged “call”; (3) the title of the call; (4) portions
25   of dialogue throughout the transcript; and (5) other identifying information such as the Job
26   Number. Guyon Decl. ¶ 3. These are material redactions because Acquisition appears to
27   purport that this alleged call shows a connection between Retreaver and California (which
28   Retreaver disputes), as Acquisition has characterized the transcript as a telephone call with
                                                     1
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 1   an unidentified “California Entity” in its First Amended Complaint. E.g., First Amended
 2   Complaint ¶ 37. Acquisition’s Proof of Service filed with the Court also falsely states that
 3   Acquisition provided the “Unredacted First Amended Complaint with Exhibits” to
 4   counsel for Retreaver. See ECF No. 21 (emphasis added). Acquisition’s Application to
 5   Seal provides no grounds for removing the identity of a speaker in the transcript and other
 6   identifying information from the public record as required by C.D. Cal. R. 79-5.2.2(a). See
 7   Application to Seal. In any event, the local rules do not allow Acquisition to redact
 8   material information in exhibits supporting its affirmative claims for relief provided to the
 9   Court and counsel of record, even if grounds existed for redacting this information from
10   the public record (which they do not).
11           Counsel for Retreaver has requested that counsel for Acquisition provide the
12   unredacted Exhibit G to the First Amended Complaint on multiple occasions. Guyon
13   Decl. ¶¶ 4-5, Exs. 2-3. Counsel for Acquisition refused to provide the unredacted Exhibit
14   G and confirmed that he has provided only the redacted version (with the identity of the
15   speaker and other identifying information removed) to the Court. Counsel for Retreaver
16   asked counsel for Acquisition on what grounds Acquisition had redacted information
17   provided to the Court and counsel of record, to which counsel for Acquisition did not
18   respond. Guyon Decl. ¶ 4, Ex. 2.
19           For the foregoing reasons, Retreaver opposes Acquisition’s Application to Seal to
20   the extent Acquisition refuses to provide an unredacted Exhibit G to counsel of record for
21   Retreaver and the Court, as required by the local rules.
22

23

24   Dated: October 29, 2019                  Respectfully submitted,
25                                            GREENBERG TRAURIG, LLP
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                                           By: /s/ Nina D. Boyajian
                                                  Nina D. Boyajian
28                                          Attorneys for Defendant Retreaver, Inc.
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